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  Fill in this information to identify the case:

  United States Bankruptcy Court for the:


                              District of     Delaware
                                            (State)
  Case number (If known): ______________________________ Chapter 11                                                                             Check if this is an
                                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                     04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor’s name                                     Knotel 261 Madison LLC



2. All other names debtor used
   in the last 8 years
        Include any assumed names,
        trade names, and doing business
        as names




3. Debtor’s federal Employer                                 XX-XXXXXXX
   Identification Number (EIN)



4. Debtor’s address                                   Principal place of business                                Mailing address, if different from principal
                                                                                                                 place of business

                                                  5-9 Union Square West
                                                  Number          Street                                        Number       Street



                                                                                                                 P.O. Box

                                                  New York                          NY      10003
                                                  City                              State      ZIP Code          City                           State       ZIP Code

                                                                                                                 Location of principal assets, if different from
                                                                                                                 principal place of business
                                                      Manhattan
                                                  County                                                        261 Madison Avenue
                                                                                                                  Number       Street

                                                                                                                 Floor 4

                                                                                                                New York                  NY            10016
                                                                                                                City                           State       ZIP Code




   5.   Debtor’s website (URL)




  Official Form 201                                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 1
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Debtor      Knotel 261 Madison LLC                                                             Case number (if known)
                Name




                                           [x] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6. Type of debtor
                                           [] Partnership (excluding LLP)
                                           [] Other. Specify: _____________________________________________________________

                                       A.         Check one:
7. Describe debtor’s business
                                       [] Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       [] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       [] Railroad (as defined in 11 U.S.C. § 101(44))
                                       [] Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       [] Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       [] Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       [x] None of the above


                                       B.         Check all that apply:

                                           [] Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           [] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                           [] Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.      NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                              5311

8. Under
       which chapter of the                Check one:
  Bankruptcy Code is the
  debtor filing?                           [] Chapter 7
                                           [] Chapter 9
                                           [x] Chapter 11. Check all that apply:
  A debtor who is a “small business
  debtor” must check the first sub-                        []   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
  box. A debtor as defined in §                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or
  1182(1) who elects to proceed                                 affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
  under subchapter V of chapter 11                              recent balance sheet, statement of operations, cash-flow statement, and federal
  (whether or not the debtor is a                               income tax return or if any of these documents do not exist, follow the procedure
  “small business debtor”) must                                 in 11 U.S.C. § 1116(1)(B).
  check the second sub-box.                                []   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of Chapter
                                                                11. If this sub-box is selected, attach the most recent balance sheet, statement of
                                                                operations, cash-flow statement, and federal income tax return, or if any of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           []   A plan is being filed with this petition.
                                                           []   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           []   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                                Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this
                                                                form.
                                                           []   The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                Rule 12b-2.
                                           [] Chapter 12




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor       Knotel 261 Madison LLC                                                                  Case number (if known)
             Name



  9. Were prior bankruptcy cases             [x] No
     filed by or against the debtor
     within the last 8 years?                [] Yes. District ______________________________ When __________________ Case number

     If more than 2 cases, attach a                                   District ___________________    When __________________ Case number
     separate list.


  10.     Are any bankruptcy            [] No
    cases pending or being filed
    by a business partner or an                          See Annex 1.
                                        [x] Yes. Debtor ______________________________________________ Relationship
    affiliate of the debtor?                           District                                                         When
     List all cases. If more than 1,
     attach a separate list.                          Case number, if known


  11.    Why is the case filed in       Check all that apply:
    this district?
                                        []    Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                              days immediately preceding the date of this petition or for a longer part of such 180 days than in any
                                              other district.

                                        [x] A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


  12.    Does the debtor own or   [x] No
    have possession of any real
                                  [] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                  Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  [] It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? ___________________________________________________________

                                                  [] It needs to be physically secured or protected from the weather.

                                                  [] It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                   [] Other




                                                  Where is the property?
                                                                                 Number         Street




                                                                                 City                                          State ZIP Code


                                                  Is the property insured?
                                                  [] No
                                                  [] Yes. Insurance agency

                                                                  Contact name

                                                                  Phone


            Statistical and administrative information




            Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 3
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 Debtor       Knotel 261 Madison LLC                                                                   Case number (if known)
                     Name




  13. Debtor’s estimation of                  Check one:
      available funds                         [] Funds will be available for distribution to unsecured creditors.
                                              [x] After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              [x] 1-49
                                                                                 []   1,000-5,000                              []   25,001-50,000
  14. Estimated     number of                 [] 50-99
      creditors                                                                  []   5,001-10,000                             []   50,001-100,000
                                              [] 100-199
                                              [] 200-999                         []   10,001-25,000                            []   More than 100,000

                                              [] $0-$50,000                      [x] $1,000,001-$10 million            []   $500,000,001-$1 billion
  15. Estimated     assets                    [] $50,001-$100,000                []   $10,000,001-$50 million          []   $1,000,000,001-$10 billion
                                              [] $100,001-$500,000               []   $50,000,001-$100 million         []   $10,000,000,001-$50 billion
                                              [] $500,001-$1 million             []   $100,000,001-$500 million        []   More than $50 billion

                                              [] $0-$50,000                      []   $1,000,001-$10 million           []      $500,000,001-$1 billion
  16. Estimated     liabilities               [] $50,001-$100,000                []   $10,000,001-$50 million          []      $1,000,000,001-$10 billion
                                              [] $100,001-$500,000               [x] $50,000,001-$100 million          []      $10,000,000,001-$50 billion
                                              [] $500,001-$1 million             [] $100,000,001-$500 million          []      More than $50 billion



              Request for Relief, Declaration, and Signatures



           WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in
                    fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  17. Declarationand signature of                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of                this petition.
      debtor
                                                  I have been authorized to file this petition on behalf of the debtor.


                                                  I have examined the information in this petition and have a reasonable belief that the information is true and
                                                  correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                  Executed on    1/31/2021
                                                                MM / DD / YYYY

                                             X    /s/ John M. Jureller                                          John M. Jureller

                                                  Signature of authorized representative of debtor              Printed name

                                                Title    Chief Financial Officer




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 4
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 Debtor       Knotel 261 Madison LLC                                                                              Case number (if known)
                    Name




  18. Signature     of attorney            X /s/ Robert J. Dehney                                        Date        1/31/2021
                                             Signature of attorney for debtor                                       MM / DD / YYYY



                                                Robert J. Dehney
                                             Printed name
                                                Morris, Nichols, Arsht & Tunnell LLP
                                             Firm name
                                                1201 N. Market Street
                                             Number          Street
                                                Wilmington                                                DE                  19801-1347
                                             City                                                         State              ZIP Code

                                                (302) 658-9200                                              rdehney@mnat.com
                                             Contact phone                                                 Email address



                                              3578                                                    Delaware
                                             Bar number                                                   State




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 5
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                                              Annex 1

                   Pending or Current Bankruptcy Cases Filed by Affiliates

        On January 31, 2021, each of the affiliated entities listed below (including the debtor in
this chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code
in the United States Bankruptcy Court for the District of Delaware.

                                                      Federal Employer
 Entity Name
                                                      Identification Number (EIN)
Knotel, Inc.                                                             XX-XXXXXXX
100 Bush St SF LLC                                                       XX-XXXXXXX
101 Fifth Ave NYC LLC                                                    XX-XXXXXXX
101 Montgomery St SF LLC                                                 XX-XXXXXXX
10301 Jefferson Blvd LA LLC                                              XX-XXXXXXX
110 W 32nd NYC LLC                                                       XX-XXXXXXX
1100 Glendon LA LLC                                                      XX-XXXXXXX
1120 20th St DC LLC                                                      XX-XXXXXXX
116 W 32nd NYC LLC                                                       XX-XXXXXXX
12 E 33 St NYC LLC                                                       XX-XXXXXXX
12121 Bluff Creek LA LLC                                                 XX-XXXXXXX
12211 Washington LA LLC                                                  XX-XXXXXXX
125 Fifth Ave NYC LLC                                                    XX-XXXXXXX
1250 Eye St DC LLC                                                       XX-XXXXXXX
12555 West Jefferson Way LA LLC                                          XX-XXXXXXX
126 Post St SF LLC                                                       XX-XXXXXXX
129 W 29th NYC LLC                                                       XX-XXXXXXX
131 Rodeo 102 LA LLC                                                     XX-XXXXXXX
131 Rodeo 250 LA LLC                                                     XX-XXXXXXX
13160 Mindanao Way LA LLC                                                XX-XXXXXXX
1317 5th St LA LLC                                                       XX-XXXXXXX
1330 Conn Ave DC LLC                                                     XX-XXXXXXX
1407 Broadway NYC LLC                                                    XX-XXXXXXX
142 Berkeley St BOS LLC                                                  XX-XXXXXXX
1444 Market St SF LLC                                                    XX-XXXXXXX
146 Geary St SF LLC                                                      XX-XXXXXXX
152 W 25 NYC LLC                                                         XX-XXXXXXX
1550 Bryant St SF LLC                                                    XX-XXXXXXX
1556 20th LA LLC                                                         XX-XXXXXXX
16 W 36 St NYC LLC                                                       XX-XXXXXXX
1625 Oly Blvd LA LLC                                                     XX-XXXXXXX
1640 Sepulveda LA LLC                                                    XX-XXXXXXX
166 Geary St SF LLC                                                      XX-XXXXXXX
1720 Eye St DC LLC                                                       XX-XXXXXXX
1725 Montgomery St SF LLC                                                XX-XXXXXXX
19 W 44th NYC LLC                                                        XX-XXXXXXX
195 Broadway NYC LLC                                                     XX-XXXXXXX
2 Liberty Sq BOS LLC                                                     XX-XXXXXXX
22 W 21 ST NYC LLC                                                       XX-XXXXXXX
2228 Cottner LA LLC                                                      XX-XXXXXXX
23 W 20th NYC LLC                                                        XX-XXXXXXX
239 Causeway St Boston LLC                                               XX-XXXXXXX
240 W 35th NYC LLC                                                       XX-XXXXXXX
240 W 40 St NYC LLC                                                      XX-XXXXXXX
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250 Montgomery St LLC                                         XX-XXXXXXX
259 W 30TH NYC LLC                                            XX-XXXXXXX
26 W 17th St NYC LLC                                          XX-XXXXXXX
260 W 39th NYC LLC                                            XX-XXXXXXX
275 Battery St SF LLC                                         XX-XXXXXXX
28 W 25 NYC LLC                                               XX-XXXXXXX
29 W 35th St NYC LLC                                          XX-XXXXXXX
295 Madison NYC LLC                                           XX-XXXXXXX
30 W 21 St NYC LLC                                            XX-XXXXXXX
300 Broadway St SF LLC                                        XX-XXXXXXX
300 Montgomery St SF LLC                                      XX-XXXXXXX
301 Brannan St SF LLC                                         XX-XXXXXXX
303 Second St SF LLC                                          XX-XXXXXXX
3137 S La Cienega Blvd LA LLC                                 XX-XXXXXXX
320 Lincoln LA LLC                                            XX-XXXXXXX
3309 La Cienega Place LA LLC                                  XX-XXXXXXX
333 Broadway SF Tenant LLC                                    XX-XXXXXXX
350 Sansome St SF LLC                                         XX-XXXXXXX
3535 Hayden Ave LA LLC                                        XX-XXXXXXX
360 Madison NYC LLC                                           XX-XXXXXXX
369 Lexington Ave NYC LLC                                     XX-XXXXXXX
390 Broadway NYC LLC                                          XX-XXXXXXX
40 Broad St BOS LLC                                           XX-XXXXXXX
400 Sutter St SF LLC                                          XX-XXXXXXX
405 E 4th Avenue SM LLC                                       XX-XXXXXXX
405 Howard Street SF LLC                                      XX-XXXXXXX
429 Santa Monica Blvd LA LLC                                  XX-XXXXXXX
42Floors LLC                                                  XX-XXXXXXX
44 E 32nd Street NYC LLC                                      XX-XXXXXXX
44 Thomson Pl BOS LLC                                         XX-XXXXXXX
447 Broadway NYC LLC                                          XX-XXXXXXX
45 W 45 ST NYC LLC                                            XX-XXXXXXX
4501 Glencoe Blvd LA LLC                                      XX-XXXXXXX
455 Market St SF LLC                                          XX-XXXXXXX
456 Montgomery St SF LLC                                      XX-XXXXXXX
465 California St SF LLC                                      XX-XXXXXXX
5 Bryant Park NYC LLC                                         XX-XXXXXXX
50 Osgood Pl SF LLC                                           XX-XXXXXXX
505 Howard SF St LLC                                          XX-XXXXXXX
545 5th Ave NYC LLC                                           XX-XXXXXXX
555 Montgomery St SF LLC                                      XX-XXXXXXX
565 Commercial St SF LLC                                      XX-XXXXXXX
580 8th Ave NYC LLC                                           XX-XXXXXXX
590 Fifth Ave NYC LLC                                         XX-XXXXXXX
597 Fifth Ave NYC LLC                                         XX-XXXXXXX
6 W 28th NYC LLC                                              XX-XXXXXXX
60 Madison NYC LLC                                            XX-XXXXXXX
600 Corporate Pointe LA LLC                                   XX-XXXXXXX
649 Mission St SF LLC                                         XX-XXXXXXX
650 Fifth Ave NYC LLC                                         XX-XXXXXXX
71 Stevenson St SF LLC                                        XX-XXXXXXX
750 HARRISON ST SF LLC                                        XX-XXXXXXX
818 Mission St SF LLC                                         XX-XXXXXXX
8590 National Blvd LA LLC                                     XX-XXXXXXX
8690 National Blvd LA LLC                                     XX-XXXXXXX
875 6th Ave NYC LLC                                           XX-XXXXXXX

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88 Kearny St SF LLC                                           XX-XXXXXXX
901 Market St SF LLC                                          XX-XXXXXXX
909 E Street DC LLC                                           XX-XXXXXXX
909 Ocean Front Walk LA LLC                                   XX-XXXXXXX
91 Fifth Ave NYC LLC                                          XX-XXXXXXX
Bush 225 SF LLC                                               XX-XXXXXXX
Cortlandt White NYC LLC                                       XX-XXXXXXX
Kkoin, LLC                                                    XX-XXXXXXX
Knotel 1 Whitehall LLC                                        XX-XXXXXXX
Knotel 102 Madison LLC                                        XX-XXXXXXX
Knotel 105 Madison LLC                                        XX-XXXXXXX
Knotel 109 Stevenson LLC                                      XX-XXXXXXX
Knotel 11 E 44th LLC                                          XX-XXXXXXX
Knotel 110 Greene LLC                                         XX-XXXXXXX
Knotel 110 William LLC                                        XX-XXXXXXX
Knotel 114 W 26th LLC                                         XX-XXXXXXX
Knotel 12 W 21st St LLC                                       XX-XXXXXXX
Knotel 12 W 27th St LLC                                       XX-XXXXXXX
Knotel 121 2nd Street LLC                                     XX-XXXXXXX
Knotel 147 W 24th LLC                                         XX-XXXXXXX
Knotel 148 Lafayette LLC                                      XX-XXXXXXX
Knotel 150 Post LLC                                           XX-XXXXXXX
Knotel 1500 Broadway LLC                                      XX-XXXXXXX
Knotel 155 Fifth Ave LLC                                      XX-XXXXXXX
Knotel 156 Fifth, LLC                                         XX-XXXXXXX
Knotel 16 W 22nd LLC                                          XX-XXXXXXX
Knotel 160 Pine LLC                                           XX-XXXXXXX
Knotel 17 W 20th LLC                                          XX-XXXXXXX
Knotel 180 Howard LLC                                         XX-XXXXXXX
Knotel 200 W 41st LLC                                         XX-XXXXXXX
Knotel 2080 Addison LLC                                       XX-XXXXXXX
Knotel 211 East 43 LLC                                        XX-XXXXXXX
Knotel 213 W 35th St LLC                                      XX-XXXXXXX
Knotel 220 W 19th St LLC                                      XX-XXXXXXX
Knotel 221 Pine LLC                                           XX-XXXXXXX
Knotel 224 W 30th LLC                                         XX-XXXXXXX
Knotel 229 W 43 LLC                                           XX-XXXXXXX
Knotel 25 W 45th LLC                                          XX-XXXXXXX
Knotel 250 Hudson LLC                                         XX-XXXXXXX
Knotel 250 Hudson ST LLC                                      XX-XXXXXXX
Knotel 26 OFarrell LLC                                        XX-XXXXXXX
Knotel 26 W 17 LLC                                            XX-XXXXXXX
Knotel 261 Madison LLC                                        XX-XXXXXXX
Knotel 27 W 23rd ST LLC                                       XX-XXXXXXX
Knotel 29 W 17th LLC                                          XX-XXXXXXX
Knotel 3 E 28th LLC                                           XX-XXXXXXX
Knotel 30 Broad LLC                                           XX-XXXXXXX
Knotel 30 West 26th LLC                                       XX-XXXXXXX
Knotel 307 Fifth LLC                                          XX-XXXXXXX
Knotel 31 W 27th LLC                                          XX-XXXXXXX
Knotel 321 11th LLC                                           XX-XXXXXXX
Knotel 340 Brannan LLC                                        XX-XXXXXXX
Knotel 36 W 14th LLC                                          XX-XXXXXXX
Knotel 360 Pas LLC                                            XX-XXXXXXX
Knotel 37 W 17th LLC                                          XX-XXXXXXX
Knotel 373 Pas LLC                                            XX-XXXXXXX

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Knotel 38 E 29th LLC                                           XX-XXXXXXX
Knotel 399 Lafayette LLC                                       XX-XXXXXXX
Knotel 40 EX LLC                                               XX-XXXXXXX
Knotel 40 Wooster LLC                                          XX-XXXXXXX
Knotel 400 Madison LLC                                         XX-XXXXXXX
Knotel 41 USW LLC                                              XX-XXXXXXX
Knotel 41 W 25 LLC                                             XX-XXXXXXX
Knotel 417 Montgomery LLC                                      XX-XXXXXXX
Knotel 419 PAS LLC                                             XX-XXXXXXX
Knotel 43 W 24th LLC                                           XX-XXXXXXX
Knotel 443 PAS LLC                                             XX-XXXXXXX
Knotel 475 Park LLC                                            XX-XXXXXXX
Knotel 49 Drumm LLC                                            XX-XXXXXXX
Knotel 5 Hanover LLC                                           XX-XXXXXXX
Knotel 5-9 USW LLC                                             XX-XXXXXXX
Knotel 521 Broadway LLC                                        XX-XXXXXXX
Knotel 530 Broadway LLC                                        XX-XXXXXXX
Knotel 530 Seventh Avenue LLC                                  XX-XXXXXXX
Knotel 54 W 21st LLC                                           XX-XXXXXXX
Knotel 54 W 22nd LLC                                           XX-XXXXXXX
Knotel 55 W 21St LLC                                           XX-XXXXXXX
Knotel 550 Montgomery LLC                                      XX-XXXXXXX
Knotel 551 Fifth Ave LLC                                       XX-XXXXXXX
Knotel 560 LEXINGTON LLC                                       XX-XXXXXXX
Knotel 575 8th Ave LLC                                         XX-XXXXXXX
Knotel 580 5th Ave NYC LLC                                     XX-XXXXXXX
Knotel 580 Market LLC                                          XX-XXXXXXX
Knotel 584 Broadway LLC                                        XX-XXXXXXX
Knotel 598 Broadway LLC                                        XX-XXXXXXX
Knotel 6 W 48th St LLC                                         XX-XXXXXXX
Knotel 600 Townsend LLC                                        XX-XXXXXXX
Knotel 61 Broadway LLC                                         XX-XXXXXXX
Knotel 611 Mission LLC                                         XX-XXXXXXX
Knotel 615 Sacramento LLC                                      XX-XXXXXXX
Knotel 625 2nd LLC                                             XX-XXXXXXX
Knotel 655 Madison LLC                                         XX-XXXXXXX
Knotel 695 AOA LLC                                             XX-XXXXXXX
Knotel 701 Sutter LLC                                          XX-XXXXXXX
Knotel 72 Madison LLC                                          XX-XXXXXXX
Knotel 785 Market LLC                                          XX-XXXXXXX
Knotel 80 Eighth Ave LLC                                       XX-XXXXXXX
Knotel 814 Mission LLC                                         XX-XXXXXXX
Knotel 88 Stevenson LLC                                        XX-XXXXXXX
Knotel 90 John LLC                                             XX-XXXXXXX
Knotel 900 Broadway LLC                                        XX-XXXXXXX
Knotel 972 Mission LLC                                         XX-XXXXXXX
Knotel Battery LLC                                             XX-XXXXXXX
Knotel Blockchain Services LLC                                 XX-XXXXXXX
Knotel Flowerpot LLC                                           XX-XXXXXXX
Knotel Geometry LLC                                            XX-XXXXXXX
Knotel Platform 2017 LLC                                       XX-XXXXXXX
Knotel President LLC                                           XX-XXXXXXX
Knotel Properties LLC                                          XX-XXXXXXX
Knotel Varick LLC                                              XX-XXXXXXX
Knotel William LLC                                             XX-XXXXXXX
Paces Ferry Road ATL LLC                                       XX-XXXXXXX

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Pine Street Tenant NY LLC                                      XX-XXXXXXX
Tenant 660 Mkt St SF LLC                                       XX-XXXXXXX




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                       Chapter 11

    Knotel, Inc., et al.,                                       Case No. 21-_____ (___)
                              Debtors.1
                                                                (Joint Administration Requested)


                  CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

            The above-captioned debtors and debtors in possession (the “Debtors”) make this statement

under rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedures. The Debtors are

each directly or indirectly wholly owned by debtor Knotel, Inc. The Debtors respectfully represent

as follows:

                   1.        The following corporations own, either directly or indirectly, 10% or more

of the equity interests in Knotel, Inc.: Essential Media Group, LLC, Peak State Limited (f/k/a

Arvensis Ventures Ltd), and Sarva TXT, LLC; and

                   2.        Each other Debtor is wholly owned, directly or indirectly, by its parent,

Knotel, Inc.




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://www.omniagentsolutions.com/knotel or, alternatively, via the Bankruptcy
      Court at https://ecf.deb.uscourts.gov/cgi-bin/login.pl with a Public Access to Court Electronic Records
      (“PACER”) account, which may be obtained at https://pacer.uscourts.gov. The location of Debtor Knotel, Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 5-9 Union Square West,
      New York, NY 10003.
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             Knotel,Inc.
Debtor name Knotel,   Inc.,        et al.
UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders
                                                                                                                                                                       12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                   Nature of the       Indicate if       Amount of unsecured claim
                                            Name, telephone number, and                             claim is
mailing address, including zip              email address of creditor contact   claim               contingent,       If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,     unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed       secured, fill in total claim amount and
                                                                                loans,                                deduction for value of collateral or setoff to
                                                                                professional                          calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                contracts)                          Total Claim, if    Deduction         Unsecured claim
                                                                                                                    partially          for value of
                                                                                                                    secured            collateral or
                                                                                                                                       setoff


1   One Workpl L Ferrari LLC                One Workpl L Ferrari LLC            Supply Chain -
    dba Two                                 Email: payments@oneworkplace.com    Furniture
    2500 De La Cruz Blvd
                                                                                                                                                                 $4,985,299.47
    Santa Clara, CA 95050


                                            Hudson 901 Market LLC
2   Hudson 901 Market LLC                   Attn: Jason Storm                   Rent
    303 2nd St                              Email:
    San Francisco, CA 94107                 jstorm@hudsonppi.com
                                            Phone: (310) 445-5700                                                                                                $4,042,220.05




3   Eden Technologies Inc                   Eden Technologies Inc               Facilities
    54 Gilbert St                           Email: billing@eden.io
    San Francisco, CA 94103                 Phone: 1-800-754-3166
                                                                                                                                                                 $3,108,234.37




4   260-261 Madison Ave LLC                 260-261 Madison Ave LLC             Rent
    261 Madison Ave, Fl 27
    New York, NY 10016
                                                                                                                                                                 $2,692,399.58




5 505 Howard SF LLC                         505 Howard SF LLC                   Rent
  21575 Ridgetop Cir
  Sterling, VA 20166                                                                                                                                             $2,309,973.88




6   SourceMedia                             SourceMedia                         Rent
    1 State St                              Attn: Anthony DeNoris
    New York, NY 10004                      Email:                                                                                                               $2,119,571.35
                                            Anthony.DeNoris@sourcemedia.com



 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 1
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Debtor name       Knotel, Inc., et al.                                                                       Case No. (If known)

                                                                       (Continuation Sheet)

Name of creditor and complete                                                         Nature of the       Indicate if       Amount of unsecured claim
                                             Name, telephone number, and                                  claim is
mailing address, including zip               email address of creditor contact        claim               contingent,       If the claim is fully unsecured, fill in only
code.                                                                                 (for example,       unliquidated,     unsecured claim amount. If claim is partially
                                                                                      trade debts, bank   or disputed       secured, fill in total claim amount and
                                                                                      loans,                                deduction for value of collateral or setoff to
                                                                                      professional                          calculate unsecured claim.
                                                                                      services, and
                                                                                      government
                                                                                                                          Total Claim, if     Deduction         Unsecured claim
                                                                                      contracts)
                                                                                                                          partially           for value of
                                                                                                                          secured             collateral or
                                                                                                                                              setoff
                                            HRC Corp
7   HRC Corp                                Email: ehaddad@hrccorp.com                Rent
    156 5th Ave, Ste 300                    Attn: Robert E. Haddad
    New York, NY 10010                      Email: ehaddad@hrccorp.com                                                        $2,342,099.70       $225,000.00           $2,117,099.7
                                            Phone: (212) 807-7664 ext. 2



8 530 Broadway Owner LLC                     530 Broadway Owner LLC                   Rent
  1040 Ave of Americas, 3rd Fl               Attn: Joanne Agoglia
  New York, NY 10018                         Email: jagoglia@hspny.com                                                                                                 $1,560,785.50
                                             Phone: (212) 519-2036



9 RXR 61 Broadway Owner LLC                  RXR 61 Broadway Owner LLC                Rent
  61 Broadway                                Attn: Jason Barnett, General Counsel
  New York, NY 10006                         Email: leasing@rxrrealty.com
                                                                                                                                                                       $1,487,384.21
                                             Phone: (212) 797-1330



10 Hudson 625 Second                         Hudson 625 Second LLC                    Rent
   LLC 625 2nd                               Attn: Sarah Epstein
   Rincon Ctr, Ste 220                       Email: sepstein@hudsonppi.com
                                                                                                                                                                       $1,333,644.18
   San Francisco, CA                         Phone: (310) 445-5700
   94105


11 30 Broad Street Venture, LLC              30 Broad Street Venture, LLC             Rent
   30 Broad St
   New York, NY 10004                                                                                                         $1,346,943.29        $18,096.69
                                                                                                                                                                        $1,328,846.6




12 Office Resources, Inc                     Office Resources, Inc                    Supply Chain -
   263    Summer      St                     Attn: Leanne Niland                      Furniture
   Boston, MA 02210                          Email: accountsreceivablegroup@ori.com
                                             Phone: (617) 896-3263                                                                                                     $1,245,306.91




13 RELX, Inc                                 RELX, Inc                                Rent
   9443 Springboro Pike                      Attn: Daniel J. Weissman
   Miamisburg, OH 45342                      Email: dan.weissman@lexisnexis.com                                               $1,312,770.36       $197,000.00
                                                                                                                                                                       $1,115,770.36
                                             Phone: (202) 857-8202



14 DP 1550 Bryant LLC                        DP 1550 Bryant LLC                       Rent
   1550 Bryant St, 4th Fl                    Attn: Kimberly Tran
   San Francisco, CA 94103                   Email: bli@downtown-properties.com                                                                   $566,760.97
                                                                                                                              $1,651,155.89                            $1,084,394.92




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Debtor name       Knotel, Inc., et al.                                                                          Case No. (If known)

                                                                         (Continuation Sheet)

Name of creditor and complete                                                            Nature of the       Indicate if       Amount of unsecured claim
                                             Name, telephone number, and                                     claim is
mailing address, including zip               email address of creditor contact           claim               contingent,       If the claim is fully unsecured, fill in only
code.                                                                                    (for example,       unliquidated,     unsecured claim amount. If claim is partially
                                                                                         trade debts, bank   or disputed       secured, fill in total claim amount and
                                                                                         loans,                                deduction for value of collateral or setoff to
                                                                                         professional                          calculate unsecured claim.
                                                                                         services, and
                                                                                         government
                                                                                                                             Total Claim, if     Deduction         Unsecured claim
                                                                                         contracts)
                                                                                                                             partially           for value of
                                                                                                                             secured             collateral or
                                                                                                                                                 setoff


15 JLJ LLC                                    JLJ LLC                                    Rent
   c/o Olmstead Properties Inc                Email: mcarter@olmsteadinc.com
   27 W 23rd St                               Phone: (212) 564-2240 or (212) 564-6662
                                                                                                                                                                          $1,057,433.61
   New York, NY 10010



16 29 W 35th Street LLC                       29 W 35th Street LLC                       Rent
   29 W 35th St, Ste 900
   New York, NY 10001                                                                                                        $1,821,516.42           $779,675.00          $1,041,841.42




17 Alliance Brokerage Corp                    Alliance Brokerage Corp                    Legal
   990 Westbury Rd                            Email: mvescovo@abc990.com
   Westbury, NY 11590                         Attn: Michael Vescovo
                                              Phone: (516) 465-1100                                                                                                         $991,338.37




                                              ASB Allegiance Real Estate Fund
18 ASB Allegiance Real Estate Fund            Attn: Adeline Juliet Martin, MYoungkuk     Rent
   dba 400 Madison Holdings LLC               Kim
   c/o Ds400Owner LLC                         Email: Julietmartin111@gmail.com
                                                                                                                                 $1,498,483.33       $527,041.00
   400 Madison Ave, Ste 14B                   Phone: (301) 523-5721 OR                                                                                                      $971,442.33
   New York, NY 10017


19 Kidder Matthews of California, Inc.        Kidder Matthews of California, Inc.        Rent
   101 Mission Street, Suite 2100             Email: bradv@kiddermathews.com
   San Francisco CA 94105
                                                                                                                                                                            $927,672.00




                                            31 West 27th Street Property Investors IV,
20 31 West 27th Street Property Investors   LLC
    IV, LLC
   31 West 27th Street
                                                                                                                                                                           $ 901,476.31
  New York NY 10001




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Debtor name       Knotel, Inc., et al.                                                                 Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if       Amount of unsecured claim
                                          Name, telephone number, and                               claim is
mailing address, including zip            email address of creditor contact     claim               contingent,       If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,     unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed       secured, fill in total claim amount and
                                                                                loans,                                deduction for value of collateral or setoff to
                                                                                professional                          calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if     Deduction         Unsecured claim
                                                                                contracts)
                                                                                                                    partially           for value of
                                                                                                                    secured             collateral or
                                                                                                                                        setoff


21 5 Hanover Square (NY) Owner, LLC       5 Hanover Square (NY) Owner, LLC      Rent
   5 Hanover Square
   New York NY 10004
                                                                                                                                                                   $896,606.96




22 475 Building Company LLC               475 Building Company LLC              Rent
   750 Lexington Avenue
   New York NY 10022                                                                                                                                               $849,723.12




23 303 2nd Street Sf LLC / Syapse Inc     303 2nd Street Sf LLC / Syapse Inc    Rent
   303 Second Street, Suite 500 North     Attn: Todd Mayover
                                                                                                                                                                   $844,119.59
   San Francisco CA 94107                                                                                               $1,052,896.83       $208,777.24




24 11 E 44th Street LLC                   11 E 44th Street LLC                  Legal
   346 Madison Ave
  New York NY 10017                                                                                                     $1,290,813.02       $474,739.67
                                                                                                                                                                   $816,073.35




25 598 Broadway Realty Assoc, Inc         598 Broadway Realty Assoc, Inc        Rent
   P.O. Box 514                           Attn: Zvi Mosery
   Prince St Station                                                                                                      $960,735.85       $144,986.00
   New York, NY 10012                                                                                                                                              $815,749.85




26 GODADDY MSH INC.                       GODADDY MSH INC.                      Rent
  14455 N. Hayden Rd., Suite 219
   Scottsdale, AZ 85260                                                                                                   $788,915.12         19,030.57            $769,884.55




27 250 HUDSON STREET LLC                  250 HUDSON STREET LLC                 Rent

                                                                                                                                                                   $755,139.37




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Debtor name      Knotel, Inc., et al.                                                               Case No. (If known)

                                                                 (Continuation Sheet)

 Name of creditor and complete                                                 Nature of the       Indicate if       Amount of unsecured claim
                                           Name, telephone number, and                             claim is
 mailing address, including zip            email address of creditor contact   claim               contingent,       If the claim is fully unsecured, fill in only
 code.                                                                         (for example,       unliquidated,     unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed       secured, fill in total claim amount and
                                                                               loans,                                deduction for value of collateral or setoff to
                                                                               professional                          calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if    Deduction         Unsecured claim
                                                                               contracts)
                                                                                                                   partially          for value of
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
 28    Legacy 455 Market Street L.P..      Legacy 455 Market Street L.P.
       1865 Harman Street, 1R              Attn: Tania A Monar
       Ridgewood NY 11385
                                                                                                                                                                  $747,678.13




 29    Essence Global LLC                  Essence Global LLC
       54 West 21st Street                 Email:
       New York NY 10010                   eyleen.donneys@essenceglobal.com
                                                                                                                                                                  $746,983.31




30 6 West 48th LLC                       6 West 48th LLC
   242 West 38th Street                  Email: ecerritos@hspny.com
  12th Floor
  New York NY 10018                                                                                                                                               $730,712.50




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                       AUTHORIZED OFFICER’S CERTIFICATE

                                         January 31, 2021

       This Authorized Officer’s Certificate (this “Certificate”) is furnished in connection with
those certain chapter 11 petitions filed on January 31, 2021 (as amended, modified or
supplemented from time to time, the “Petitions”), by Knotel, Inc., a Delaware corporation, and
certain of its subsidiaries (each and collectively, the “Company”).
       The undersigned, being an Authorized Officer (as such term is defined in the attached
resolutions) of each Company listed on Schedule 1 attached hereto, hereby certifies, solely in
his/her capacity as such and not in his/her individual capacity and without personal liability, that
attached hereto as Exhibit A is a true, correct and complete copy of the resolutions duly adopted
by the Governing Body (as such term is defined therein) of each Company on the date hereof, in
accordance with the bylaws or limited liability company agreements, as applicable, of such
Company and the requirements of applicable law, and such resolutions have not been modified,
rescinded or amended and are in full force and effect as of the date of this Certificate.


                                    [Signature Page Follows]
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        IN WITNESS WHEREOF, the undersigned has duly executed and delivered this
Certificate as of the date first set forth above.




                                 By:     /s/ Amit Khanna

                                 Name: Amit Khanna

                                 Title: SVP, General Counsel
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                                       Schedule 1

1.   Knotel, Inc., a Delaware corporation

2.   100 Bush St SF LLC, a Delaware limited liability company

3.   101 Fifth Ave NYC LLC, a New York limited liability company

4.   101 Montgomery St SF LLC, a Delaware limited liability company

5.   10301 Jefferson Blvd LA LLC, a Delaware limited liability company

6.   110 W 32nd NYC LLC, a New York limited liability company

7.   1100 Glendon LA LLC, a Delaware limited liability company

8.   1120 20th St DC LLC, a Delaware limited liability company

9.   116 W 32nd NYC LLC, a New York limited liability company

10. 12 E 33 St NYC LLC, a New York limited liability company

11. 12121 Bluff Creek LA LLC, a Delaware limited liability company

12. 12211 Washington LA LLC, a Delaware limited liability company

13. 125 Fifth Ave NYC LLC, a New York limited liability company

14. 1250 Eye St DC LLC, a Delaware limited liability company

15. 12555 West Jefferson Way LA LLC, a Delaware limited liability company

16. 126 Post St SF LLC, a Delaware limited liability company

17. 129 W 29th NYC LLC, a New York limited liability company

18. 131 Rodeo 102 LA LLC, a Delaware limited liability company

19. 131 Rodeo 250 LA LLC, a Delaware limited liability company

20. 13160 Mindanao Way LA LLC, a Delaware limited liability company

21. 1317 5th St LA LLC, a Delaware limited liability company

22. 1330 Conn Ave DC LLC, a Delaware limited liability company

23. 1407 Broadway NYC LLC, a New York limited liability company

24. 142 Berkeley St BOS LLC, a Delaware limited liability company

25. 1444 Market St SF LLC, a Delaware limited liability company
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26. 146 Geary St SF LLC, a Delaware limited liability company

27. 152 W 25 NYC LLC, a New York limited liability company

28. 1550 Bryant St SF LLC, a Delaware limited liability company

29. 1556 20th LA LLC, a Delaware limited liability company

30. 16 W 36 St NYC LLC, a New York limited liability company

31. 1625 Oly Blvd LA LLC, a Delaware limited liability company

32. 1640 Sepulveda LA LLC, a Delaware limited liability company

33. 166 Geary St SF LLC, a Delaware limited liability company

34. 1720 Eye St DC LLC, a Delaware limited liability company

35. 1725 Montgomery St SF LLC, a Delaware limited liability company

36. 19 W 44th NYC LLC, a New York limited liability company

37. 195 Broadway NYC LLC, a New York limited liability company

38. 2 Liberty Sq BOS LLC, a Delaware limited liability company

39. 22 W 21 ST NYC LLC, a New York limited liability company

40. 2228 Cottner LA LLC, a Delaware limited liability company

41. 23 W 20th NYC LLC, a New York limited liability company

42. 239 Causeway St Boston LLC, a Delaware limited liability company

43. 240 W 35th NYC LLC, a New York limited liability company

44. 240 W 40 St NYC LLC, a New York limited liability company

45. 250 Montgomery St LLC, a Delaware limited liability company

46. 259 W 30TH NYC LLC, a New York limited liability company

47. 26 W 17th St NYC LLC, a New York limited liability company

48. 260 W 39th NYC LLC, a New York limited liability company

49. 275 Battery St SF LLC, a Delaware limited liability company

50. 28 W 25 NYC LLC, a New York limited liability company

51. 29 W 35th St NYC LLC, a New York limited liability company
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52. 295 Madison NYC LLC, a New York limited liability company

53. 30 W 21 St NYC LLC, a New York limited liability company

54. 300 Broadway St SF LLC, a Delaware limited liability company

55. 300 Montgomery St SF LLC, a Delaware limited liability company

56. 301 Brannan St SF LLC, a Delaware limited liability company

57. 303 Second St SF LLC, a Delaware limited liability company

58. 3137 S La Cienega Blvd LA LLC, a Delaware limited liability company

59. 320 Lincoln LA LLC, a Delaware limited liability company

60. 3309 La Cienega Place LA LLC, a Delaware limited liability company

61. 333 Broadway SF Tenant LLC, a Delaware limited liability company

62. 350 Sansome St SF LLC, a Delaware limited liability company

63. 3535 Hayden Ave LA LLC, a Delaware limited liability company

64. 360 Madison NYC LLC, a New York limited liability company

65. 369 Lexington Ave NYC LLC, a New York limited liability company

66. 390 Broadway NYC LLC, a New York limited liability company

67. 40 Broad St BOS LLC, a Delaware limited liability company

68. 400 Sutter St SF LLC, a Delaware limited liability company

69. 405 E 4th Avenue SM LLC, a Delaware limited liability company

70. 405 Howard Street SF LLC, a Delaware limited liability company

71. 429 Santa Monica Blvd LA LLC, a Delaware limited liability company

72. 42Floors, LLC, a Delaware limited liability company

73. 44 E 32nd Street NYC LLC, a New York limited liability company

74. 44 Thomson Pl BOS LLC, a Delaware limited liability company

75. 447 Broadway NYC LLC, a New York limited liability company

76. 45 W 45 ST NYC LLC, a New York limited liability company

77. 4501 Glencoe Blvd LA LLC, a Delaware limited liability company
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78. 455 Market St SF LLC, a Delaware limited liability company

79. 456 Montgomery St SF LLC, a Delaware limited liability company

80. 465 California St SF LLC, a Delaware limited liability company

81. 5 Bryant Park NYC LLC, a New York limited liability company

82. 50 Osgood Pl SF LLC, a Delaware limited liability company

83. 505 Howard SF St LLC, a Delaware limited liability company

84. 545 5th Ave NYC LLC, a New York limited liability company

85. 555 Montgomery St SF LLC, a Delaware limited liability company

86. 565 Commercial St SF LLC, a Delaware limited liability company

87. 580 8th Ave NYC LLC, a New York limited liability company

88. 590 Fifth Ave NYC LLC, a New York limited liability company

89. 597 Fifth Ave NYC LLC, a New York limited liability company

90. 6 W 28th NYC LLC, a New York limited liability company

91. 60 Madison NYC LLC, a New York limited liability company

92. 600 Corporate Pointe LA LLC, a Delaware limited liability company

93. 649 Mission St SF LLC, a Delaware limited liability company

94. 650 Fifth Ave NYC LLC, a New York limited liability company

95. 71 Stevenson St SF LLC, a Delaware limited liability company

96. 750 HARRISON ST SF LLC, a Delaware limited liability company

97. 818 Mission St SF LLC, a Delaware limited liability company

98. 8590 National Blvd LA LLC, a Delaware limited liability company

99. 8690 National Blvd LA LLC, a Delaware limited liability company

100. 875 6th Ave NYC LLC, a New York limited liability company

101. 88 Kearny St SF LLC, a Delaware limited liability company

102. 901 Market St SF LLC, a Delaware limited liability company

103. 909 E Street DC LLC, a Delaware limited liability company
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104. 909 Ocean Front Walk LA LLC, a Delaware limited liability company

105. 91 Fifth Ave NYC LLC, a New York limited liability company

106. Bush 225 SF LLC, a Delaware limited liability company

107. Cortlandt White NYC LLC, a New York limited liability company

108. Kkoin, LLC, a Delaware limited liability company

109. Knotel 1 Whitehall LLC, a New York limited liability company

110. Knotel 102 Madison LLC, a New York limited liability company

111. Knotel 105 Madison LLC, a New York limited liability company

112. Knotel 109 Stevenson LLC, a Delaware limited liability company

113. Knotel 11 E 44th LLC, a New York limited liability company

114. Knotel 110 Greene LLC, a New York limited liability company

115. Knotel 110 William LLC, a New York limited liability company

116. Knotel 114 W 26th LLC, a New York limited liability company

117. Knotel 12 W 21st St LLC, a New York limited liability company

118. Knotel 12 W 27th St LLC, a New York limited liability company

119. Knotel 121 2nd Street LLC, a Delaware limited liability company

120. Knotel 147 W 24th LLC, a New York limited liability company

121. Knotel 148 Lafayette LLC, a New York limited liability company

122. Knotel 150 Post LLC, a Delaware limited liability company

123. Knotel 1500 Broadway LLC, a New York limited liability company

124. Knotel 155 Fifth Ave LLC, a New York limited liability company

125. Knotel 156 Fifth, LLC, a New York limited liability company

126. Knotel 16 W 22nd LLC, a New York limited liability company

127. Knotel 160 Pine LLC, a Delaware limited liability company

128. Knotel 17 W 20th LLC, a New York limited liability company

129. Knotel 180 Howard LLC, a Delaware limited liability company
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130. Knotel 200 W 41st LLC, a New York limited liability company

131. Knotel 2080 Addison LLC, a Delaware limited liability company

132. Knotel 211 East 43 LLC, a New York limited liability company

133. Knotel 213 W 35th St LLC, a New York limited liability company

134. Knotel 220 W 19th St LLC, a New York limited liability company

135. Knotel 221 Pine LLC, a Delaware limited liability company

136. Knotel 224 W 30th LLC, a New York limited liability company

137. Knotel 229 W 43 LLC, a New York limited liability company

138. Knotel 25 W 45th LLC, a New York limited liability company

139. Knotel 250 Hudson LLC, a New York limited liability company

140. Knotel 250 Hudson ST LLC, a New York limited liability company

141. Knotel 26 OFarrell LLC, a Delaware limited liability company

142. Knotel 26 W 17 LLC, a New York limited liability company

143. Knotel 261 Madison LLC, a New York limited liability company

144. Knotel 27 W 23rd ST LLC, a New York limited liability company

145. Knotel 29 W 17th LLC, a New York limited liability company

146. Knotel 3 E 28th LLC, a New York limited liability company

147. Knotel 30 Broad LLC, a New York limited liability company

148. Knotel 30 West 26th LLC, a New York limited liability company

149. Knotel 307 Fifth LLC, a New York limited liability company

150. Knotel 31 W 27th LLC, a New York limited liability company

151. Knotel 321 11th LLC, a Delaware limited liability company

152. Knotel 340 Brannan LLC, a Delaware limited liability company

153. Knotel 36 W 14th LLC, a New York limited liability company

154. Knotel 360 Pas LLC, a New York limited liability company

155. Knotel 37 W 17th LLC, a New York limited liability company
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156. Knotel 373 Pas LLC, a New York limited liability company

157. Knotel 38 E 29th LLC, a New York limited liability company

158. Knotel 399 Lafayette LLC, a New York limited liability company

159. Knotel 40 EX LLC, a New York limited liability company

160. Knotel 40 Wooster LLC, a New York limited liability company

161. Knotel 400 Madison LLC, a New York limited liability company

162. Knotel 41 USW LLC, a New York limited liability company

163. Knotel 41 W 25 LLC, a New York limited liability company

164. Knotel 417 Montgomery LLC, a Delaware limited liability company

165. Knotel 419 PAS LLC, a New York limited liability company

166. Knotel 43 W 24th LLC, a New York limited liability company

167. Knotel 443 PAS LLC, a New York limited liability company

168. Knotel 475 Park LLC, a New York limited liability company

169. Knotel 49 Drumm LLC, a Delaware limited liability company

170. Knotel 5 Hanover LLC, a New York limited liability company

171. Knotel 5-9 USW LLC, a New York limited liability company

172. Knotel 521 Broadway LLC, a New York limited liability company

173. Knotel 530 Broadway LLC, a New York limited liability company

174. Knotel 530 Seventh Avenue LLC, a New York limited liability company

175. Knotel 54 W 21st LLC, a New York limited liability company

176. Knotel 54 W 22nd LLC, a New York limited liability company

177. Knotel 55 W 21St LLC, a New York limited liability company

178. Knotel 550 Montgomery LLC, a Delaware limited liability company

179. Knotel 551 Fifth Ave LLC, a New York limited liability company

180. Knotel 560 LEXINGTON LLC, a New York limited liability company

181. Knotel 575 8th Ave LLC, a New York limited liability company
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182. Knotel 580 5th Ave LLC, a New York limited liability company

183. Knotel 580 Market LLC, a Delaware limited liability company

184. Knotel 584 Broadway LLC, a New York limited liability company

185. Knotel 598 Broadway LLC, a New York limited liability company

186. Knotel 6 W 48th St LLC, a New York limited liability company

187. Knotel 600 Townsend LLC, a Delaware limited liability company

188. Knotel 61 Broadway LLC, a New York limited liability company

189. Knotel 611 Mission LLC, a Delaware limited liability company

190. Knotel 615 Sacramento LLC, a Delaware limited liability company

191. Knotel 625 2nd LLC, a Delaware limited liability company

192. Knotel 655 Madison LLC, a New York limited liability company

193. Knotel 695 AOA LLC, a New York limited liability company

194. Knotel 701 Sutter LLC, a Delaware limited liability company

195. Knotel 72 Madison LLC, a New York limited liability company

196. Knotel 785 Market LLC, a Delaware limited liability company

197. Knotel 80 Eighth Ave LLC, a New York limited liability company

198. Knotel 814 Mission LLC, a Delaware limited liability company

199. Knotel 88 Stevenson LLC, a Delaware limited liability company

200. Knotel 90 John LLC, a New York limited liability company

201. Knotel 900 Broadway LLC, a New York limited liability company

202. Knotel 972 Mission LLC, a Delaware limited liability company

203. Knotel Battery LLC, a New York limited liability company

204. Knotel Blockchain Services LLC, a Delaware limited liability company

205. Knotel Flowerpot LLC, a New York limited liability company

206. Knotel Geometry LLC, a Delaware limited liability company

207. Knotel Platform 2017 LLC, a New York limited liability company
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208. Knotel President LLC, a New York limited liability company

209. Knotel Properties LLC, a Delaware limited liability company

210. Knotel Varick LLC, a New York limited liability company

211. Knotel William LLC, a New York limited liability company

212. Paces Ferry Road ATL LLC, a Delaware limited liability company

213. Pine Street Tenant NY LLC, a New York limited liability company

214. Tenant 660 Mkt St SF LLC, a Delaware limited liability company
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                      Exhibit A

                     Resolutions
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                     OMNIBUS RESOLUTIONS BY
 THE MEMBERS OF THE BOARD OF DIRECTORS AND THE SOLE MEMBERS (AS
    APPLICABLE) OF THE ENTITIES LISTED ON SCHEDULE 1 (EACH AND
                  COLLECTIVELY, THE “COMPANY”)

                                          January 28, 2021
        Effective as of the date written above, each of the following governing bodies (each and
collectively, the “Governing Body”):

       (i) all of the members of the board of directors of Knotel, Inc. (“Knotel”), a Delaware
       corporation;

       (ii) Knotel as the sole member of each of the other entities listed on Schedule 1, each a
       Delaware limited liability company or a New York limited liability company, as designated
       on Schedule 1;

hereby consents to and approves the following actions and adopts the following resolutions
pursuant to the bylaws or limited liability company agreements, as applicable, and the laws of the state
of formation or organization of each Company:

                                             RECITALS

        WHEREAS, the Governing Body of each Company has reviewed and considered the
financial and operational condition of each Company and each Company’s business on the date
hereof, including the historical and current performance of the Company, the assets and prospects
of the Company, the current and long-term liabilities of the Company, the market for the
Company’s assets, and credit market conditions, and fully considered the strategic alternatives
available to each Company; and

         WHEREAS, the Governing Body of each Company has received, reviewed, and
considered the recommendations of the senior management of each Company and each Company’s
legal, financial, and other advisors as to the relative risks and benefits of pursuing a reorganization
case under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”); and

       WHEREAS, the Governing Body of each Company, in consultation with the senior
management of each Company and each Company’s legal, financial, and other advisors, has
determined that it is in the best interests of the Company to explore a potential sale of its assets to
one or more potential bidders (the “Sale”); and

       WHEREAS, after reviewing indications of interest submitted by interested bidders, the
Governing Body of each Company, with the assistance of the senior management of each
Company and each Company’s legal, financial, and other advisors, reviewed and negotiated an
asset purchase agreement (the “Stalking Horse Agreement”) with Digiatech, LLC (or its
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designee) (the “Stalking Horse Bidder”) to purchase substantially all of each Company’s assets;
and

        WHEREAS, the Governing Body of each Company determined that the Stalking Horse
Agreement is fair and reasonable, will not discourage competitive bidding in connection with the
Sale, and that it is in the best interests of each Company that the Company enter into the Stalking
Horse Agreement; and

        WHEREAS, the Governing Body of each Company has determined that taking the actions
set forth below are advisable and in the best interests of the Company and, therefore desires to
approve the following resolutions:

       NOW, THEREFORE, BE IT

  I.   Commencement of Chapter 11 Cases

         RESOLVED, that, in the judgment of the Governing Body of each Company, it is in the
best interests of the Company, and would promote the maximization of the value of the Company
for the benefit of its shareholders, that a voluntary petition (the “Petition” and, collectively, the
“Petitions”) be filed with the bankruptcy court by the Company commencing a case (the “Chapter
11 Case” and, collectively, the “Chapter 11 Cases”) under the provisions of the Bankruptcy Code;
and it is further

        RESOLVED, that any one of John M. Jureller and Amit Khanna and any other officer of
the Company specifically designated by the foregoing officers (each, an “Authorized Person”),
in each case, acting singly or jointly, be, and each hereby is, authorized and empowered to execute
and file in the name and on behalf of the Company, to execute, acknowledge, deliver, and verify
the Petition and to cause the same to be filed with the bankruptcy court at such time as such
Authorized Person may determine; and it is further

        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized and empowered on behalf of the Company, to execute,
acknowledge, deliver, and verify and file any and all petitions, schedules, statements of affairs,
lists, motions, applications, and other papers and to take any and all related actions that such
Authorized Persons may deem necessary or proper in connection with the filing of the Petition and
commencement of the Chapter 11 Case; and it is further

        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized and empowered from time to time in the name and on behalf
of the Company, to perform the obligations of the Company under the Bankruptcy Code, with all
such actions to be performed in such manner, and all such certificates, instruments, guaranties,
notices and documents to be executed and delivered in such form, as the Authorized Person
performing or executing the same shall approve, and the performance or execution thereof by such
Authorized Person shall be conclusive evidence of the approval thereof by such Authorized Person
and by the Company; and it is further
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        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized and empowered from time to time in the name and on behalf
of the Company, to cause the Company to enter into, execute, deliver, certify, file, record, and
perform such agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates or other documents, to pay all expenses,
including filing fees, and to take such other actions, as in the judgment of such Authorized Persons,
shall be necessary, proper and desirable to prosecute to a successful completion the Chapter 11
Case and to effectuate the restructuring, reorganization, sale or liquidation of the Company’s
assets, refinancing, restructuring or other transaction with respect to, its debt, other obligations,
organizational form and structure or ownership of the Company, and to carry out and put into
effect the purposes of these resolutions, and the transactions contemplated by these resolutions,
their authority thereunto to be evidenced by the taking of such actions; and it is further

 II.   Retention of Advisors

        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, empowered, and directed to employ the law firm of Milbank
LLP, located at 2029 Century Park East, 33rd Floor, Los Angeles, CA 90067, as general
bankruptcy counsel to represent and advise the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations, including
filing any pleadings in connection with the Chapter 11 Case and with any post-petition financing;
and in connection therewith, the Authorized Persons are hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon filing of the Chapter 11 Case, and cause to be executed and filed an appropriate
application with the bankruptcy court for authority to retain the services of Milbank LLP; and it is
further

        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, empowered, and directed to employ the law firm of Morris,
Nichols, Arsht & Tunnell LLP, located at 1201 North Market Street, 16th Floor, Wilmington, DE
19899, as general bankruptcy counsel to represent and advise the Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance its rights and
obligations, including filing any pleadings in connection with the Chapter 11 Case and with any
post-petition financing; and in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon filing of the Chapter 11 Case, and cause to be executed
and filed an appropriate application with the bankruptcy court for authority to retain the services
of Morris, Nichols, Arsht & Tunnell LLP; and it is further

         RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, empowered, and directed to employ Moelis & Company,
located at 399 Park Avenue, 5th Floor, New York, NY 10022, as investment banker to represent
and assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance its rights and obligations in connection with the Chapter 11 Case and with
any post-petition financing; and in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
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retainers prior to and immediately upon the filing of the Chapter 11 Case, and cause to be executed
and filed an appropriate application with the bankruptcy court for authority to retain the services
of Moelis & Company; and it is further

        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, empowered, and directed to employ Omni Agent Solutions,
located at 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367, as claims, noticing and
administrative agent to assist the Company in carrying out its duties under the Bankruptcy Code;
and in connection therewith, the Authorized Persons are hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Case, and cause to be executed and filed an
appropriate application with the bankruptcy court for authority to retain the services of Omni
Agent Solutions; and it is further

        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, empowered, and directed to employ Fenwick & West LLP,
located at 801 California Street, Mountain View, CA 94041, as special corporate counsel; and in
connection therewith, the Authorized Persons are hereby authorized, empowered, and directed to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Fenwick & West LLP; and it is further

       RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, empowered, and directed to employ Ernst & Young LLP,
located at 5 Times Square, New York, New York 10036, as tax consultant; and in connection
therewith, the Authorized Persons are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon filing
of the Chapter 11 Case, and cause to be executed and filed an appropriate application with the
bankruptcy court for authority to retain the services of Ernst & Young LLP; and it is further

        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, empowered, and directed to employ any other professionals,
including attorneys, accountants, and tax advisors, necessary to assist the Company in carrying out
its duties under the Bankruptcy Code; and in connection therewith, the Authorized Persons are
hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to or immediately upon the filing of the Chapter 11 Case, and cause to
be executed and filed appropriate applications with the bankruptcy court for authority to retain the
services of any other professionals, as necessary; and it is further

III.   Debtor-In-Possession Financing and Use of Cash Collateral

        RESOLVED that, the Authorized Persons, and any employees or agents (including
counsel) designated by or directed by any such persons, be, and each of them, acting alone or in
any combination, hereby is, authorized, empowered, and directed, in the name and on behalf of
the Company, to, if the Authorized Persons determine it to be necessary or appropriate, enter into
senior, secured, super-priority debtor in possession credit facilities, including the credit facilities
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contemplated by that certain Senior Secured Superpriority Debtor-In-Possession Credit
Agreement, dated on or about the date hereof, by and among the Company, as borrower, the
guarantors party thereto, and Digiatech, LLC, as lender (the “Lender”), in each case, in
substantially the form as presented to the Governing Body (the “DIP Credit Facilities”), and any
related documents or instruments, each on terms and conditions agreed to by the Company, and
the Lender and such other terms as are customary for similar debtor-in-possession facilities and to
cause the Company to grant a senior security interest in substantially all of its assets in connection
therewith, and to undertake any and all related transactions contemplated thereby; and it is further

        RESOLVED that the Authorized Persons be, and each of them hereby is, acting alone or
in any combination, authorized, empowered, and directed, in the name and on behalf of the
Company, to, if the Authorized Persons determine it to be necessary or appropriate, cause to be
prepared, to negotiate, execute, and deliver, and the Company is hereby authorized to perform its
obligations and take the actions contemplated under, the DIP Credit Facilities and such other
documents, agreements, guaranties, instruments, financing statements, notices, undertakings, other
loan documents promissory notes, term sheets, fee letters, control agreements, landlord
agreements, pledge agreements, assignments, stock powers, intellectual property filings and
recordations, letters of credit, certificates, powers of attorney, consents, waivers, other security
documents and any other necessary or appropriate agreement, instrument, document, or certificates
related to the DIP Credit Facilities (the “DIP Documents”) each containing such provisions, terms,
conditions, covenants, warranties, and representations as may be deemed necessary or appropriate
by the Authorized Persons, and any amendments, restatements, amendments and restatements,
supplements, or other modifications thereto, in each case with such changes therein and additions
thereto as shall be deemed necessary, appropriate, or advisable by any Authorized Person
executing the same in the name and on behalf of the Company, such approval to be evidenced
conclusively by such execution; and it is further

        RESOLVED that the Company, as debtor and debtor in possession under the Bankruptcy
Code, be authorized, empowered, and directed to (i) negotiate and obtain the use of cash collateral
or other similar arrangements, including, without limitation, to enter into any guarantees of, and
security interests in, mortgage, pledge, and grant liens on and claims against the Company’s assets
as security or otherwise in connection with the DIP Documents as may be contemplated by or
required under the terms of cash collateral agreements or other similar arrangements, in such
amounts as is reasonably necessary for the continuing conduct of the affairs of the Company in the
Chapter 11 Case and any of the Company’s affiliates who may also, concurrently with the
Company’s petition, file for relief under the Bankruptcy Code and (ii) in the Company’s capacity,
as shareholder, member, manager, or owner of any other borrower or guarantor, execute and
deliver such votes, consents, waivers, or other approvals of certifications as are necessary or
desirable to cause or permit any such borrower or guarantor to enter into and consummate the
foregoing and the other matters contemplated by these resolutions; and that any Authorized Person
of the Company be, and each of them hereby is, authorized and empowered in the name and on
behalf of the Company to enter into and perform its obligations under and as set forth in the DIP
Documents; and that any Authorized Person of the Company be, and each of them hereby is,
authorized and empowered in the name and on behalf of the Company, to execute (manually or by
electronic signature) and deliver such DIP Documents, with such changes, additions and deletions
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as any Authorized Person may approve and on such terms as any Authorized Person deems
necessary or desirable; and it is further

        RESOLVED that each Authorized Person be, and hereby is, authorized, directed and
empowered, either jointly or severally, for and on behalf of and in the name of the Company to
cause the Company and its subsidiaries to pledge, mortgage, or otherwise grant security interests
in, and liens upon, any or all of the assets and properties, real and personal, now owned or hereafter
acquired by the Company and its subsidiaries, including, without limitation, any capital stock,
membership interests, or other ownership interests owned by the Company or any subsidiary in
any corporations, limited liability companies, or other entities, now existing or hereafter arising or
acquired (collectively, the “Collateral”), as applicable, and all proceeds of the Collateral as may
now or from time to time be required in connection with the DIP Credit Facilities to secure
payment and performance by the Company of its obligations under the DIP Documents and such
other obligations that are required to be secured under the DIP Documents and take such further
action to maintain and perfect such liens and otherwise necessary to effect the purposes of the DIP
Documents; and it is further

       RESOLVED, that each Authorized Person be, and hereby is, authorized, directed, and
empowered, either jointly or severally, for and on behalf of and in the name of the Company, to
cause the Company’s subsidiaries to enter into subsidiary guarantees of the payment by the
Company of all amounts due with respect to the DIP Documents and the performance by the
Company of its obligations under the DIP Documents and such other obligations that such
subsidiaries are required to guaranty; and it is further

        RESOLVED that the Company will receive substantial direct and indirect benefits from
the loans and other financial accommodations to be made under the DIP Credit Facilities to the
Company and its affiliates; and it is further

IV.    Stalking Horse Agreement, Sale Process, and Bidding Procedures Motion

         RESOLVED, that the execution, delivery and performance of the Stalking Horse
Agreement substantially in the form previously provided to the Governing Body of the Company
and the transactions contemplated thereby, be, and they hereby are, deemed advisable and in the
best interests of the Company and are hereby authorized, approved and adopted for all purposes;
and it is further

       RESOLVED, that each Authorized Person be, and hereby is, authorized, directed, and
empowered, either jointly or severally, for and on behalf of and in the name of the Company, to
negotiate, execute and deliver on behalf of the Company any agreements, documents and
instruments in connection with the Stalking Horse Agreement or as such Authorized Persons may
deem necessary, advisable or appropriate, such execution and delivery by any such Authorized
Persons to be conclusive evidence of such authorization and approval; and it is further

          RESOLVED, that each Authorized Person be, and hereby is, authorized, directed, and
empowered, either jointly or severally, for and on behalf of and in the name of the Company, to
(i) file a motion (the “Bidding Procedures Motion”) with the bankruptcy court to request, among
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other things, the bankruptcy court’s approval of (a) the Sale, (b) the commencement of a marketing
and sale process in the Chapter 11 Cases for the Sale (the “Sale Process”), and (c) the bidding
procedures associated with the Sale Process, which are attached to the Bidding Procedures Motion
(such bidding procedures, in the form approved by the bankruptcy court, the “Bidding
Procedures”), including a request for approval of a break-up fee payable to the Stalking Horse
Bidder on the terms set forth in the Stalking Horse Agreement and (ii) commence and implement
the Sale Process; and it is further

       RESOLVED, that each Authorized Person be, and hereby is, authorized, directed, and
empowered, either jointly or severally, for and on behalf of and in the name of the Company, to
take any and all other actions as they may deem necessary or advisable to implement the Sale
Process as contemplated by the Bidding Procedures; and it is further

 V.     General Authorization and Ratification

        RESOLVED, that, in addition to the specific authorizations heretofore conferred upon the
Authorized Persons, each Authorized Person (and his designees and delegates) be, and hereby is,
authorized and empowered, in the name of and on behalf of the Company, to take or cause to be
taken any and all such other and further action, and to execute, acknowledge, deliver, and file any
and all such agreements, certificates, instruments, and other documents and to pay all expenses,
including but not limited to filing fees, in each case as in such Authorized Person’s (or his
designees’ or delegates’) judgment, shall be necessary, advisable, or desirable in order to fully
carry out the intent and accomplish the purposes of the resolutions adopted herein; and it is further

       RESOLVED, that in addition to the specific authorizations heretofore conferred upon each
Authorized Person be, and hereby is, authorized and empowered, in the name of and on behalf of
the Company, to execute on behalf of the Company any and all such other agreements, agreements,
deeds, consents, notices, applications, certificates, authorities, letters, instruments, undertakings, or other
documents, in each case as in the judgment of the person(s) executing the same on behalf of the Company,
shall be necessary, advisable, or desirable in order to fully carry out the intent and accomplish the
purposes of the resolutions adopted herein; and it is further

        RESOLVED, that each Governing Body has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the bylaws or limited liability company agreements of the Company, as applicable, or hereby
waives any right to have received such notice; and it is further

         RESOLVED, that all actions and transactions heretofore taken, and all agreements,
instruments, reports, and documents executed, delivered, or filed through the date hereof, by any
manager or Authorized Person of the Company in, for, and on behalf of the Company, in
connection with the matters described in or contemplated by the foregoing resolutions, are hereby
in all respects approved, adopted, ratified, and confirmed in all respects as the true acts and deeds
of the Company as of the date such action or actions were taken; and it is further

     RESOLVED, that, to the extent that the Company serves as the sole member, managing
member, general partner, partner, or other governing body (the “Controlling Company”) of any
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other company (a “Controlled Company”), each Authorized Person of the Controlling Company,
any one of whom may act without the joinder of any other Authorized Person, be, and each of
them hereby is, severally authorized and empowered in the name and on behalf of the Controlling
Company (acting for such Controlled Company in the capacity set forth above, as applicable), to
take all of the actions on behalf of such Controlled Company that an Authorized Person is herein
authorized to take on behalf of the Controlling Company; and it is further

       RESOLVED, that facsimile or photostatic copies of any signature to these resolutions shall
be deemed to be originals and may be relied on to the same extent as the originals.
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  Fill in this information to identify the case and this filing:


 Debtor Name    Knotel, Inc., et al.

 United States Bankruptcy Court for the: __________________ District of Delaware
                                                                         (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule


         x
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         x
              Other document that requires a declaration Corporate Ownership Statement, Creditor Matrix




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on 1/31/2021                              x       /s/ John M. Jureller
                     MM / DD / YYYY                                Signature of individual signing on behalf of debtor


                                                        John M. Jureller
                                                                Printed name

                                                        Chief Financial Officer
                                                                   Position or relationship to debtor

Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
